
PER CURIAM.
We granted certiorari because of apparent conflict between the decision in the instant case, Carp v. Florida Real Estate Comm., 211 So.2d 240 (3d Dist.Fla.Ct.App.1968), and the decision in Everett v. Mann, 113 So.2d 758 (2d Dist.Fla.Ct.App.1959).
After hearing oral argument and further study of the record and briefs we have concluded that the apparent jurisdictional conflict is not actually present. The writ was therefore improvidently issued.
The writ is discharged.
It is so ordered.
ERVIN, C. J., and THORNAL, ADKINS, BOYD and CALDWELL (Retired), JJ., concur.
